                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          CIVIL ACTION NO. 3:14-MJ-225-DCK

UNITED STATES OF AMERICA,                                  )
                                                           )
                 Plaintiff,                                )
                                                           )
   v.                                                      )        ORDER
                                                           )
JAMELL LAMON CURETON et al.,                               )
                                                           )
                 Defendant.                                )
                                                           )



          THIS MATTER IS BEFORE THE COURT on Plaintiff’s “Motion To Seal Criminal

Complaint And Case” (Document No. 8) filed October 30, 2014. Having carefully considered

the motion and the record, and applicable authority, the undersigned will grant the motion.

          IT IS, THEREFORE, ORDERED that Plaintiff’s “Motion To Seal Criminal Complaint

And Case” (Document No. 8) is GRANTED.

          IT IS FURTHER ORDERED that the Criminal Complaint, Motion to Seal and this

Order, be sealed until further order of this court.

          The Clerk is directed to certify copies of this Order to the United States Attorney's

Office.

          SO ORDERED.

                                          Signed: October 30, 2014




                                          SEALED DOCUMENT with access to Specified Parties/Plaintiff.




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